






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00301-CR






Mark Edwin Bridges, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BLANCO COUNTY, 33RD JUDICIAL DISTRICT


NO. 599, HONORABLE GUILFORD L. JONES, III, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant's motion to dismiss this appeal is granted.  See Tex. R. App. P. 42.2(a). 
The appeal is dismissed.



				__________________________________________

				David Puryear, Justice

Before Justices Kidd, Patterson and Puryear

Dismissed on Appellant's Motion

Filed:   September 30, 2004

Do Not Publish


